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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

    ALLEN GARLAND,

           Plaintiff,
                                                         Case No. 20-cv-00269-JPG
    v.

    NOVARTIS PHARMACEUTICALS
    CORPORATION,

           Defendants.


         MOTION TO EXTEND TIME TO SUBMIT JOINT REPORT OF PARTIES AND
                 PROPOSED SCHEDULING AND DISCOVERY ORDER

           Plaintiff hereby request an extension to submit the required Joint Report of Parties and

Proposed Scheduling and Discovery Order until 14 days after Defendant has appeared in this

case. In support of this motion, Plaintiff states as follows:

           1.      Plaintiff filed this action against Defendants on March 12, 2020. Plaintiff served

Defendant’s registered agent in New Jersey with a copy of the summons and complaint on May

8, 2020. 1 Defendant’s deadline to answer or respond to the complaint is May 29, 2020.

Defendant has not yet appeared in this action.

           2.      On April 21, 2020, the Court issued its Uniform Trial Practices and Procedures,

which apply to all cases assigned to the Honorable J. Phil Gilbert. See Doc. No. 10. That

document ordered that the parties submit a Joint Report of Parties and Proposed Scheduling and

Discovery Orders within 21 days, which deadline falls on May 12, 2020.

           3.      Because Defendant has not yet appeared in this case, Plaintiff and Defendant have

not had an opportunity to meet and confer and agree to the required joint report.



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    Plaintiff has not yet received the return of service. Once received, Plaintiff will promptly file it.
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       4.      Plaintiff therefore requests that the deadline to submit the required joint report be

extended until 14 days after Defendant enters its appearance in this case, or such other time as

the Court deems reasonable.

       WHEREFORE, Plaintiff respectfully requests that the Court issue an order extending the

time for the parties to issue a Joint Report of Parties and Proposed Scheduling and Discovery

Order until 14 days after Defendant enters its appearance or such other time as the Court deems

reasonable, and for any other relief the Court deems appropriate.

       Dated: May 12, 2020

                                                      Respectfully submitted:

                                                      ELIAS LLC

                                                      /s/ Richard M. Elias
                                                      Richard M. Elias, IL Bar No. 6279078
                                                      231 S. Bemiston, Suite 800
                                                      St. Louis, MO 63105
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                                                      ONDER LAW, LLC

                                                      /s/ James G. Onder
                                                      James G. Onder, IL Bar No. 06200444
                                                      Lawana S. Wichman, IL. Bar No. 06282208
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 12, 2020 a copy of the foregoing was

served to Defendant’s registered agent by first class mail, as follows:

       Corporation Service Company, R.A.
       Novartis Pharmaceuticals Corporation
       Princeton South Corporate Center, Suite 160
       100 Charles Ewing Blvd.
       Ewing, NJ 08638


                                              /s/ Richard M. Elias
                                              Richard M. Elias




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